        CASE 0:06-cr-00211-MJD-AJB                Doc. 63      Filed 08/16/06        Page 1 of 3




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA
                                     THIRD DIVISION


UNITED STATES OF AMERICA,                                              Criminal No. 06-211(2) MJD/AJB

                                 Plaintiff,

v.                                                           REPORT AND RECOMMENDATION

ERIC DION DAVIS,

                                 Defendant.


        Jeffrey S. Paulsen, Esq., Assistant United States Attorney, for the plaintiff, United States of
        America;

        Stephen W. Walburg, Esq., for the defendant, Eric Dion Davis.


                This action came on for hearing before the Court, Magistrate Judge Arthur J. Boylan,

on August 11, 2006, at the U.S. Courthouse, 300 South Fourth St., Minneapolis, MN 55415.

Defendant Eric Dion Davis presented motions for discovery and disclosure and further moved for

suppression of evidence. Defendant’s Motion to Suppress Evidence Obtained as a Result of Search

and Seizure and Unlawful Arrest [Docket No. 44] is before the court for submission to the district court

on report and recommendation.

                Based upon the file and documents contained therein, along with testimony and exhibits

presented at hearing, the Magistrate Judge makes the following:

Findings

                Defendant Eric Dion Davis was arrested on June 23, 2006, following a investigation

into the sale of controlled substances. In the course of the investigation defendant Davis was observed
        CASE 0:06-cr-00211-MJD-AJB                Doc. 63      Filed 08/16/06         Page 2 of 3




to be present and handing something to co-defendant Kevin Fenner at a controlled drug buy on May

11, 2006, involving the sale of 63 grams of crack cocaine to a confidential source.

                On June 23, 2006, a confidential informant made a phone call to co-defendant Fenner

to arrange a controlled purchase of four ounces of crack cocaine and $1,000 worth of heroin, to take

place at a location specified by Fenner. Prior to the transaction police officers conducted surveillance

of Fenner’s St. Paul, Minnesota, residence. At approximately 7:20 p.m. on June 23, 2006, Fenner was

observed leaving the residence in a tan Mercury vehicle, also occupied by Eric Hargrove, a co-

defendant in this action. At the scene of the planned drug transaction the confidential informant got into

a vehicle in which Hargrove was seated in the front passenger seat and defendant Davis was in the

driver’s seat. Upon signal given immediately after the informant exited the vehicle, officers moved to

the vehicle and arrested the occupants, Hargrove and Davis. Four ounces of crack cocaine and six-to-

eight grams of heroin were found on Hargrove’s person. A cell phone was seized from the vehicle.

Defendant was arrested at the scene for participation in drug conspiracy.

                Based upon the foregoing Findings, the Magistrate Judge makes the following:

Conclusions

                Defendant Eric Dion Davis was not unlawfully arrested and evidence obtained as a

result of the arrest was not obtained in violation of defendant’s constitutional rights. Defendant Davis’

arrest was based upon evidence that was sufficient to establish probable cause that he was an active

participant in a conspiracy to engage in drug trafficking activity. Specific evidence of Davis’

involvement in a drug trafficking conspiracy include police observations of his presence and interactions

at controlled drug buys which took place with the defendant’s apparent knowledge of the particular

                                                     2
         CASE 0:06-cr-00211-MJD-AJB              Doc. 63      Filed 08/16/06        Page 3 of 3




transaction taking place. United States v. Clark, 754 F.2d 789, 791 (8th Cir. 1985). Suppression of

the arrest and search and seizure evidence is not required.

                 Based upon the foregoing Findings and Conclusions, the Magistrate Judge makes the

following:

                                       RECOMMENDATION

                 The Court hereby recommends that defendant Eric Dion Davis’ Motion to Suppress

Evidence Obtained as a Result of Search and Seizure and Unlawful Arrest be denied [Docket No.

44].


Dated:       August 15, 2006


                                                          s/ Arthur J. Boylan
                                                         Arthur J. Boylan
                                                         United States Magistrate Judge


                Pursuant to Local Rule 72.1(c)(2), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written objections
which specifically identify the portions of the Report to which objections are made and the bases for
each objection. This Report and Recommendation does not constitute an order or judgment from the
District Court and it is therefore not directly appealable to the Circuit Court of Appeals. Written
objections must be filed with the Court before August 30, 2006.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. § 636 to
review a transcript of the hearing in order to resolve all objections made to this Report and
Recommendation, the party making the objections shall timely order and file a complete transcript of
the hearing within ten days of receipt of the Report.




                                                    3
